                                                                  Case 1:21-cv-00986-ADA-BAM Document 60 Filed 04/07/23 Page 1 of 5


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LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                                               UNITED STATES DISTRICT COURT
                              Glendale, California 91203




                                                             12
                                                                                              EASTERN DISTRICT OF CALIFORNIA
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                                                             14   BOBBY GRAYSON, III, individually, and        Case No.: 1:21-cv-00986-ADA-BAM
                                                                  on behalf of other members of the general
                                                             15   public similarly situated and on behalf of   Honorable Barbara A. McAuliffe
                                                                  other aggrieved employees pursuant to the    Courtroom 8
                                                             16   California Private Attorneys General Act;
                                                                                                               CLASS ACTION
                                                             17                  Plaintiff,
                                                                                                               JOINT STIPULATION TO CONTINUE
                                                             18          vs.                                   DEADLINE TO FILE PLAINTIFF’S
                                                                                                               MOTION FOR PRELIMINARY
                                                             19   NUTRIEN, a Colorado corporation;             APPROVAL OF CLASS ACTION
                                                                  NUTRIEN AG SOLUTIONS, INC., an               SETTLEMENT; [PROPOSED] ORDER
                                                             20   unknown business entity; WESTERN             THEREON
                                                                  FARM SERVICE, INC., an unknown
                                                             21   business entity; and DOES 1 through 100,     Complaint Filed:      April 2, 2021
                                                                  inclusive,                                   FAC Filed:            June 1, 2021
                                                             22                                                SAC Filed:            August 13, 2021
                                                                                 Defendants.                   TAC Filed:            October 25, 2021
                                                             23                                                Trial Date:           None Set

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                                                                      JOINT STIPULATION TO CONTINUE DEADLINE TO FILE PLAINTIFF’S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT; [PROPOSED] ORDER THEREON
                                                                  Case 1:21-cv-00986-ADA-BAM Document 60 Filed 04/07/23 Page 2 of 5

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                                                                  Attorneys for Defendants
LAWYERS for JUSTICE, PC




                                                             11   NUTRIEN LTD. (erroneously sued as “NUTRIEN”)
                          410 West Arden Avenue, Suite 203




                                                                  NUTRIEN AG SOLUTIONS, INC., and
                              Glendale, California 91203




                                                             12   WESTERN FARM SERVICE, INC.
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                                                                      JOINT STIPULATION TO CONTINUE DEADLINE TO FILE PLAINTIFF’S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT; [PROPOSED] ORDER THEREON
                                                                  Case 1:21-cv-00986-ADA-BAM Document 60 Filed 04/07/23 Page 3 of 5


                                                              1          Plaintiff Bobby Grayson, III (“Plaintiff”) and Defendants Nutrien LTD. (erroneously

                                                              2   sued as “Nutrien”), Nutrien AG Solutions Inc., and Western Farm Service, Inc. (together,

                                                              3   “Defendants”) (collectively, the “Parties”), by and through their respective counsel of record,

                                                              4   hereby stipulate as follows:

                                                              5          WHEREAS, the Parties have reached a class-wide settlement which, if approved by the

                                                              6   Court, will resolve the above-caption action in its entirety;

                                                              7          WHEREAS, on February 24, 2023, the Parties filed a Joint Notice of Settlement and

                                                              8   Stipulation to Withdraw the Pending Motions;

                                                              9          WHEREAS, on March 7, 2023, the Court entered an Order Granting Joint Stipulation to
                                                             10   Withdraw Pending Motions;
LAWYERS for JUSTICE, PC




                                                             11          WHEREAS, on March 9, 2023, the Court entered a Minute Order setting the deadline
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12   for Plaintiff to file a motion for preliminary approval of class action settlement no later than

                                                             13   April 7, 2023 and vacating all other pending dates and matters;

                                                             14          WHEREAS, the Parties require more time to finalize the long-form settlement

                                                             15   agreement, proposed amended complaint, and moving papers with respect to Plaintiff’s motion

                                                             16   for preliminary approval of class action settlement;

                                                             17          WHEREAS, the Parties seek an order continuing the deadline to file the motion for

                                                             18   preliminary approval of class action settlement by approximately thirty (30) calendar days to

                                                             19   May 5, 2023;

                                                             20          THEREFORE, subject to the Court’s approval, THE PARTIES HEREBY

                                                             21   STIPULATE to an order by the Court as follows:

                                                             22          Plaintiff’s deadline to file his motion for preliminary approval of class action settlement

                                                             23   shall be continued approximately thirty (30) calendar days from the previously set date of April

                                                             24   7, 2023 to May 5, 2023.

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                                                                      JOINT STIPULATION TO CONTINUE DEADLINE TO FILE PLAINTIFF’S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT; [PROPOSED] ORDER THEREON
                                                                  Case 1:21-cv-00986-ADA-BAM Document 60 Filed 04/07/23 Page 4 of 5


                                                              1      IT IS SO STIPULATED.

                                                              2

                                                              3   Dated: April 5, 2023                   LAWYERS for JUSTICE, PC

                                                              4
                                                                                                     By: /s/ Alexandra Rose
                                                              5                                           Joanna Ghosh
                                                              6                                           Alexandra Rose

                                                              7                                          Attorneys for Plaintiff

                                                              8

                                                              9   Dated: April 5, 2023                   OGLETREE, DEAKINS, NASH,
                                                                                                         SMOAK & STEWART, P.C.
                                                             10
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12                                      By: /s/ Christopher W. Decker
                                                                                                          Evan R. Moses
                                                             13
                                                                                                          Christopher W. Decker
                                                             14                                           Graham M. Helm
                                                                                                          Katherine A. Manuel
                                                             15                                           Attorneys for Defendants

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                                                                      JOINT STIPULATION TO CONTINUE DEADLINE TO FILE PLAINTIFF’S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT; [PROPOSED] ORDER THEREON
                                                                  Case 1:21-cv-00986-ADA-BAM Document 60 Filed 04/07/23 Page 5 of 5

                                                                                                              ORDER
                                                              1

                                                              2          The Court, having reviewed the Parties’ Joint Stipulation to Continue Deadline to File
                                                              3   Plaintiff’s Motion for Preliminary Approval of Class Action Settlement, and good cause
                                                              4   appearing, hereby orders as follows:
                                                              5          Plaintiff’s deadline to file his motion for preliminary approval of class action settlement

                                                              6   is continued to May 5, 2023.

                                                              7   IT IS SO ORDERED.
                                                              8
                                                                     Dated:    April 6, 2023                              /s/ Barbara   A. McAuliffe            _
                                                              9                                                    UNITED STATES MAGISTRATE JUDGE
                                                             10
LAWYERS for JUSTICE, PC




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                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




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                                                                      JOINT STIPULATION TO CONTINUE DEADLINE TO FILE PLAINTIFF’S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT; [PROPOSED] ORDER THEREON
